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                    IN TH E U N ITE D STATES D ISTRICT CO U RT                       N0          2
                   FO R T H E W ESTE RN D ISTRICT OF W RGIN IA
                                RO AN O U D IVISIO N                             J    c,             '
                                                                                BK           Ey cL ax
                                                                                     DEPU   cL
 JOSEPH LOUISPADUAN O,                    )      CASE N O .7:17CV00540
       Petitioner,                        )
                                          )
 V.                                       )      O PIN ION
                                          )
 H AR OLD W .CIA RIG ,                    )      By:H on.M ichaelF.U rbansld
       Respondent.                        )      ChiefUnited StatesDistrictJudge

        O n Septem ber 27, 2018,the courtdenied Paduano's W rit of H abeas Com us and

 declined to issue a certificate of appealabilitp Paduano v.Clatke,N o.7:17CV00540,2018

 WL 4655758(W.D.Va.Sept.27,2018).Paduano,aVirginiainmateproceedingbycounsel,
 flled amotion to alteroramend the judgmentpursuantto Rule 59 oftheFederalRulesof
 CivilProcedure. ForthereasonsthatfoEow,them otion isD EN IE D .

                                            1.

       A courtmay amend oralter a judgmentunder Rule 59(e) <ç(1)to accommodate an
 intervening changein controlling law;(2)to accountfornew evidence notavailableattdal;
 or(3)to cortectaclearerrorof1aw orpreventmanifestinjustice.''Hutchisonv.Staton,994
 F.2d 1076, 1081 (4th Cir. 1993). Tflmportantly, however, a Rule 59(e) modon for
 reconsideraéon m ay notbe used to rreatgue the factsand 1aw originally argtzed in thepazdes'

 briefs.''' Pro'ectsM   t.Co.v.D nCo Int'l L.L.C.,17 F.Supp.3d 539,541 (.
                                                                        E.D.Va.
 2014)(quoting United Statesv.Snaithûeld Foods,969 F.Supp.975,977 (E.D.Va.1997)).
 Tllisstandard is narrowly construed,as a Rule 59(e)motion is Tffan extraordinary remedy
 which should be used sparingly.''' Pac.Jns,Co.v.Aat N-at-
                                                      -  't-pl
                                                             i-
                                                              relns.Co-.,148 F.3d 396,403

  (4th Cir.1993)(quodng 11W righteta1.,FederalPracticeand Proceduzej2810.1,at124 (2d


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 ed.1995))9seeDurkin v.Talor,444F.Supp.879,889(E.D.Va.1977)rfWhatevezmaybe
 the purpose ofRule 59(e)itshould notbe supposed thatitisintended to givean unhappy
 liégantoneadditionalchanceto swaythejudge.>).
                                                  II.

       In hism otion forreconsidezation,Paduano zaisessix couztezzozs:

    (1)thecotzrt'sfindingofprocedtzraldefaultastoportionsofCbim 6and Cllims8and 9
       w aserroneous;

    (2)the courtignored Paduano'sallegadonsand relied on biased evidence in improperly
       dismissing Clnim 1;

    (3)the court improperly distnissed Clnim 2 by relying on biased, uncorroborated
       testim ony and speculation;

    (4)thecourtimpzoperlydislnissed Cllim 4 by notconcluding thatPaduano'spsychiattic
       issueswould have resulted in suppression oflaisstatem entsand in a lessersentence;

    (5)the courtimproperly disrnissed Cl/ims 4,5,and 6 withoutconsidering allofthe
       evidence;

    (6)the courterred in disrnissing Cbim 7 becausethedate ofthe sexualassaultofT.H.
       w ascridcalto Paduano'sdefense.

 Id.at7-20.1


       1Petitioneralsomakesseveralgeneralallegations:
       (1)         the courtdid notpresume the truth of facmalallegations ofthe petition and drawing
                   reasonableinferencestherefrom ;
       (2)         thecoul'
                          tdidnotproperlyapplybindingprecedentinPaduano'scase;
       (3)         thecourtdidnotconsiderthesum totalityofthecircumstancesofthefailuresoftrialcounsel
                   andprosecutorialm isconduct;
       (4)         in denying his petition,the courtunjustly punished Paduano for notbeing clairvoyant
                   regardingproceduraldefault;and
       (5)         thecourtdidnotaddressPaduano'sacmalilmocenceargument.


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         Paduano's m otion m ostly presents issues that the court already ruled upon,either

 expressly orby reasonable im plication,when the cotutdenied peddoner'shabeasapplicaéon

 and declined to issue a cerdficate of appealabilitp N evertheless, he fails to show an

 intervening change in conttolling law,new evidence notava'
                                                          tlable attrial,a clearerroroflaw,

 ozmanifestinjustice. Even though themajority ofPaduano'smötion doesnotsaésfythe
 requirementsofRule59(e),thecourtw111brieflydiscusshisargum ents.
                                                   111.

         Atthe thteshold,Paduano assertsthatthe courterred when itapplied an fferroneous

 standard offacts''by notpresunling tlae ttuth ofPaduano's factualallegaéonsand drawing

 reasonable inferences therefrom .z Paduano states:<<A11allegadons of the com plninant are

 taken as true and allreasonable inferences drawn in the com plainant's favor.'' Chao v.

 mvendellW oods,Inc.,415 F.3d 342,346 (4th Cir.2005).Paduanoiscorrectthatthefedezal
 courtfçmustacceptas tnle a habeaspetition'swell-pleaded allegations $utnotitslegal
 conclusionsl.':Townesv.Jarvis,577F.3d 543,550 (4th Cir.2009)(internalquotation marks
 and citation omitted).However,Tfwhen astatecourthasadjudicated ahabeasclnim onthe
 m erits,...the petiéonerm ustallege facts suffcientto m eetthe exacting standard setforth

 Br.in Supp.ofM ot.forRecons.3,ECF N o.21.
         2SPecifically, Paduanocontendsthatthecourtdid notacceptastruethefollow ing allegations:
     (1) when Paduanowasseized athismother'sresidence,heimmediately requested alawyerin hismother's
         presence;
     (2) Paduanoexpresslyrefusedpermissionforthesearchofhisproperty;
     (3) Paduanowasinseverepainwhileincustodyinthepatrolvehicle;
     (4) Paduano cleûrly and expresslyrefusedto waivehisM irandarightsbutpolicecontinuedto question him
         whilehewasin physicalpain;
     (5) therecordingofthepartoftheinterrogationwherePaduanorefusedtowaivehisrightsand/ordiscussedhis
         extrem epain/discom for'
                                tw aseithernotrecorded ortherecording wascorrupted;
     (6) Paduanorepeatedlyrequestedanattorneybutwasdenied;and
     (7) Paduano'strialcounselonlyspoketoPaduanotwice.
  Thecourtaddressedevery listedallegation inthememorandum opinion exceptfor(7),which isdiscussed inthis
  opinion.
                                                     3
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 in 28 U.S.C.j 2254$). Id.at551(state court'sdeterminaéon mustbeureasonable or
 contrary to federallaw). Similatly,j 2254/)resttictsfederalsecond-guessing ofa state
 court'sdete= ination offacm alissuesand apetitioner'sabilityto raise Tfnew''factsin federal

 court. 28 U.S.C. 2254/) (requiring clear and convincing evidence to rebut the
 Presum péon thatthe statecourt'sdetermination on a factualissue is correct,and reqlliring a

 new rule ofconstitaztional1aw or a previously undiscoverable facm alpreclicate to allege new

 facts).
        ln Error 1,Paduano aversthatthe couzt'stnlling thatportions ofClnim 6 and Clnim s

 8 and 9 w ere procedurally defaulted wascontrary to law underM artinez v.R an,566 U .S.1

  (2012). However,asthe courtexplained in itsmemorandum opinion,the Supreme Cotzrt
 carved outanlinorequitablerule thatfflajllowlsja federalhabeas courtto heara cbim p.
                                                                                    f
 ineffecéve assistance Df trial counsel when an attorney'
                         -                              s errors (or the absence ofan
 attorney)caused a proceduraldefaultin an initial-review collateralproceedinp'' M arénez,
  566 U.S.at13 (emphasis added). Therefore,Paduano may notestablish cause fot the
 proceduraldefaultundetM arénezbecausetheyarenotineffectiveassistanceclnim s.Seeids;

 M em .Op.6-8(discussing M artinez'sapplication).
        Paduano also nakedly assertsin the m otion fotreconsideraéon thathe hasovercom e

 proceduraldefaultffgilfforno otherreason,the fundamentâlnniscarriage ofjuséce thathas
  occuzred ...criesout forreliefwhen the case isconsidered in itstotalitp'' Br.in Supp.of

 M ot.forRecons.8. Paduano also states!

        Contrary to the D isM ssal,Paduano has asserted his actualinnocence in llis
        Petidon....Paduano's acm alinnocence is an inference that can reasonably
           gbejdrawn from thefactsalleged in thePedtion. Paduano isendtled to such
        inferencesatthem oéon to disrrlissstage ofthiscase.
                                              4
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 Br.in Supp.of M ot.for Recons.19-20. H ow ever,Paduano clid not specifically allege a

 fundamentalmiscarriageofjustice argumentin eitherllispeétion orresponse.3 Paduano is
 notpro .
        K apd the courtisnota mind-reader- he is notentitled to a liberalconsttucéon of

 his pleadings and the courtwillnot m anufacture argum ents, facts,and law for him . See

 Erickson v.Patdus,551U.S.89,94 (2007)r
                                      pro .
                                          K litigantsentitled to liberalconstruction);
 Nickerson v.Lee,971 F.2d 1125,1135 (4th Cir.1992)overrtzled on other oundsb Yeatts
 v.An elone,166 F.3d 255 (4th Cir.1999)Sabeaspetitionermustpresentevidence;bare
                                                        h
 allegationsofconstittztionalerrorarenotsufficientgroundsforrelief). Therefore,thecoutt
 need notaddresstllisatgum enton reconsideration.

         Regardless,Paduano'scounselappearsto lnisunderstand thatçflniscarriage ofjustice''
 hasa speciik legalm earling in habeas:a com pelling showing ofacttzalinnocencethatenables

 a federal courtto review the merits of otherwise defaulted and/or tim e-barred cbim s.
 Tele uz v.Zook,806 F.3d 803,807 (4th Cit.2015). In general,ffhabeas corpuspetdons
 thatadvance a substantialclsim ofacm alinnocenceaze extrem ely rare.'' Schlu v.D elo,513

 U.S.298,322 (1995).To statesuch acbim,thepetidonermustsatisfya ffrigorous''burden
 by ffsupportgingqlzisallegationsofconsdmtionalerrorwith new reliableevidence- whether
 it be exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical

  evidence- thatwasnotpresented attrial.'' Schlu ,513 U.S.at324. Further,Tfgljavingbeen
  convicted ...gpetitioner)no longerhasthebenefitofthepresumption ofinnocence.To the



          3Paduano adm its as much in the m otion for reconsideration. Br.irlSupp.ofM ot.for Recons. 19-20
  (acknowledgingthatactualinnocencewasnevertçexplicitlystatedinhisPetition'').


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 contrary,gpetitioner)comesbeforethehabeascourtwith astrong- andin thevastmajority
 ofthe casesconclusive- presum ption ofgtul
                                          't.?7 Id.at326 n.42.

        In reviewing an actualinnocence clnim ,the districtcourtm ay consider:the natare of

 evidence,Housev.Bell,547U.S.518,537(2006),theHmingofsubmissions,Mcouigginv.
 Perkins,569U.S.383,386 (2013),thecredibility ofwitnesses,House,547 U.S.at537,552,
 and the probaéve force ofthe newly supplem ented record. H ouse,547 U .S.at5389Sh               e

 v.Bell,593F.3d372,381 (4th Cit.2010). Afterperfornainjthisanalysis,thedisttictcourt
 mustdeterrnine whether ffitismore likely than notthatno reasonable jutor would have
 found peédoner guilty beyond a reasonable doubt.'? Schlu , 513 U.S.at 328. A clistdct
 co l
    zrtm ay havegreater clifficulty determ ining the c
                                                     'redibility ofevidence on   a T'cold recordy''

 butthe Fourth Citctzitgzants the disttictcourtthe disctetion to detettnine thatthe evidence

 isinadequate or unreliable enough to disnnissa pedtion withoutan evidenéary heo ng. See

 Tele zv.Pearson,689 F.3d 322,331 (4t.h Cir.2012).
        In the m em orandum opinion,the cotlrtcliscussed Paduano's ffnew''evidence,wllich

 included an allegation that the ttanscript and recording were incom plete or m odified,and

 sworn statem ents from Paduano,hism otherLoretta,and CatrollD ouglasFalls. Fizst,Falls'

 affidavitis neither exculpatory nor com pelling. See M em . Op. 12-13. Second,Loretta's

 afûdavitditectly conflictswith testim ony and ptesents ctedibility issues. See M em .O p.10.

 Thitd,Paduano'ssimple asserdon thathe isinnocentand thathe invoked llisM irandarights

 is notcom pelling new evidence ascontem plated by Schlu . In fact,itisexactly the type of

  Tfevidence''thatthe Suprem e Cotzrt soughtto exclude from the fundam entalnniscarriage of

  juséce analysis. See Schlu ,513 U.S.at324 (specifically reqllidng ffexculpatory sciendfic


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 evidence,trtzstworthy eyewitnessaccounts,orcridcalphysicalevidence');Bousle v.United
 States,523 U.S.614,623 (1998)(ffactualinnocencemeansfacmalinnocence,notmezeL-
                                                                             ega
                                                                               -l
 insufficienc ') (emphasis added and internalquotation marks ornitted). Lastly,Loretta's
 statem entand the asseréon thatthe interdew transcriptand recotding were tam pered with,

 withoutm oze,are not com pelling evidence ofactualinnocence. Therefore,Paduano isnot

 enétled toreliefunderRule59(e).
          ln Error 2, Paduano contends that the court erred in disnlissing Cbim 1 by

 m ischaracterizing Paduano's allegaéons and overem phasizing the sttength of the

  Com m onwealth's case regarding the possession of a flrearm charge. The court fully

 addressed the argum entin the m em orandum opinion and Paduano failsto dem onsttate that

 heisotherwiseendtled tozeliefundetRule59(e).SeeM em .Op.10-12.4
          In Error 3,Paduano asserts thatthe courterred in dismissing Clnim 2 because the

  courtshould nothave telied on Tiffany'sbiased and uncorroborated tesHm ony. The coutt

  6111y addtessed the atgum entin the m em orandum opinion and Paduano failsto dem onstrate

 thatheisotherwiseentitledtoreliefunderRule59(e).SeeMem.Op.13-16.Also,thecotztt
 notes that the m odon to reconsider never addresses the court's nlling on Stdckland

  prejudice- he fails to show by clear and convincing evidence that, even if counsel's
  Perform ance was defkient and the court had suppressed the photos of the fuearm s,the

  outcom e ofthe proceeding would havebeen different.
           4I11Errors2 and 5, Paduano also complainsthatthe courtdallied in deuncorroborated''and çtunevidenced
  speculation''by determining thatcounsel&'could have''beenactingreasonably.Br.in Supp.ofM ot.forRecons.13,
  18;See M em .Op.l6,22. ThecourtadvisesPaduano thatsuch an assessm entisirlherentin thedeterm inationsthat
  afederalhabeascourtmustmake. SeeSexton v.Beaudreaux,138 S.Ct.2555,2559 (2018)(perclzriam)C$A
  fairmindedjuristcould conclude thatcounsel'sperformance wasnotdefkientbecausecolmselreasonably could
  havedeterminedthatthemotiontosuppresswouldhavefailed.'');M oodyv.Polk,408F.3d 141,148(4thCir.2005)
  (determining thatçtcounselcould reasonably havedetermined thatfurthermeetingswith ltllepetitionerqwerenot
  helpfulinpreparinghisdefense'').


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       InEzror4,Paduanoaversthatthecolzrtezredin dismissingClnim 3because:(1)his
 Kfpsychiattic issueswere m aterialto the inqut
                                              'ry ofwhethetPaduano'swillwasovercom e by

 the oppressive interrogaéon ofthe police and theirfaillzre to allow Paduano to urinate until

 after he told the police whatthey wanted to hear'';and (2) Tfpsyclliatric disorders were
 m aterialatPaduano's sentencing butwere noteven m entioned by Paduano'strialcounselat

 the sentencing hearinp'' Br.in Supp.ofM ot.forRecons.15. The courtpreviouslyrtzled on

 these issues and Paduano hasnotdem onstrated thathe is otherwise entitled to teliefunder

 Rule59(e).
         ln Error5,Paduano contendsthatthecourtfailed to consider allofthe evidencein

 dism issing Clnim s 4, 5, and 6. Paduano presents one atgum ent that the court did not

 address:thatcounseldid notproperly prepate for the crim inalproceedings because he only

 m etPaduano twice before trial. H ow ever,Paduano did notasserta cllim based upon that

 factin hispetiéon he m erely m entioned itin the f<Facts''section ofhisbrief. Regardless,

 ffthere is no established nzinim um num ber ofm eetings between counseland clientprior to

 trialnecessary to prepare an attorney to provide effective assistance of counsel.'' M ood ,
 408 F.3d at 148. The petitioner bears the burden ofdem onstrae g that,butfozaddidonal

 m eedngs,the outcom e ofthe proceeding would have been different. Paduano failsto m ake

 such a dem onstzaéon. Futtherm ore,the courtruled on the other issues and Paduano has

 notshown thatheisotherwiseentitled to reliefunderRule59(e).
        In Error 6,Paduano assel'ts that the date of the clnim ed sexualassaultwas cm cial

 because Paduano could have estabzshed an alibi. The courtruled on thisissueand Paduano

 hasnotshown thatheisotherwiseentitled toreliefunderRule59(e).

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                                             IV .

       Further,a certificate of appealability isrequired to appealthe denialofa m oéon to

 alteroramend ajudgmentin ahabeascase.The courtdeniesthepeétionera certifkate of
 appealability,becausejuristsofreason would notfind thecourt'sresoludon ofpeddoner's
 m odon forreconsideration to bedebatable.

       Accordingly,the courtD EN IE S the m otion for reconsideration,ECF N o.20. The

 courtfurtherD EN IE S aceréficate ofappealability.



   EN TER :Tllis        day ofN ovem ber,2018.

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